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  8                            UNITED STATES DISTRICT COURT
  9                         SOUTHERN DISTRICT OF CALIFORNIA
 10
 11    UNITED STATES OF AMERICA,                              CASE NO. 14cr3008-LAB
 12                                        Plaintiff,         ORDER DENYING RULE 35(b)
                 vs.                                          MOTION
 13
       RAPHAEL VILLASENOR,
 14
                                        Defendant.
 15
 16          On October 5, 2015, this Court sentenced Raphael Villasenor for participating in a

 17   conspiracy to distribute controlled substances in violation of 21 U.S.C. § 841(a)(1) and 846.

 18   This wasn’t Villasenor’s first felony drug conviction or felony sentencing – he had pled guilty

 19   in 2010 to transporting more than 16 pounds of marijuana. Nonetheless, at Villasenor’s

 20   sentencing – despite stating its reservations1 – the Court granted the government’s motion

 21   to depart 6 levels from the presumptive Sentencing Guideline (“USSG”) range because the

 22   prosecutor proferred that the defendant had provided substantial assistance to the

 23   government. See USSG, § 5K1.1. The departure reduced Villasenor’s custodial exposure

 24   by about half; instead of an advisory sentencing range of 151–188 months, Villasenor’s

 25   faced only 78–97 months. The Court imposed a 90 month sentence.

 26          The government has now filed a motion under Fed.R.Crim.P. 35(b) asking for a

 27   further reduction of Villasenor’s sentence. The motion is supported by a declaration from a

 28
             1
                  Transcript of Sentencing (October 5, 2015), p. 17

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  1   prosecutor that outlines in the most general terms the basis for the request. The declaration
  2   is not specific insofar as when the defendant provided additional assistance or the nature
  3   of any such assistance. It doesn’t, in particular, attempt to differentiate between assistance
  4   the defendant provided before he was sentenced and assistance he may have provided
  5   afterward. See, e.g., p. 2, line 7 of Sealed Declaration in Support of Government’s Rule
  6   35(b) Motion).
  7          Before the Court will consider granting a further reduction of the defendant’s sentence
  8   for assisting the government, the government must establish that Villasenor hasn’t already
  9   been credited for the same assistance. This analysis is to be performed "against the
 10   backdrop of a defendant's original sentence." United States v. Tadio, 663 F.3d 1042, 1053
 11   (9th Cir. 2011). The Ninth Circuit has cautioned courts against overvaluing a defendant’s
 12   cooperation. See United States v. Ressam, 679 F.3d 1069, 1091-92 (9th Cir. 2012) (en
 13   banc). In Ressam, the court reversed, in part, because it determined that the district court
 14   had given excessive weight to the defendant's cooperation and, on that basis, imposed a
 15   sentence that was too low. Id. Here, because the Court already reduced Villasenor’s
 16   sentence for assisting the government, there is a similar risk that granting a further reduction
 17   will overvalue that assistance. Tadio, 663 F.3d at 1048 (court's role in the Rule 35 process
 18   is to decide whether to accept the Government's recommendation and, if so, the magnitude
 19   of departure as a function of the degree and nature of the cooperation).
 20          The government’s Rule 35(b) motion is DENIED without prejudice. If the government
 21   chooses to refile the motion, it must set forth with particularity the nature and extent of
 22   Villasenor’s assistance since the date he was sentenced. Any renewed motion shall include
 23   as an attachment the prosecutor’s declaration filed in support of the government’s original
 24   motion for a departure under USSG, § 5K1.1.
 25          IT IS SO ORDERED.
 26   DATED: October 27, 2016
 27
 28                                                HONORABLE LARRY ALAN BURNS
                                                   United States District Judge

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